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 A.S.,   AN  INFANT   BY   HER       :    UNITED STATES DISTRICT COURT
 GUARDIANS AD LITEM, AMY SMITH       :        FOR THE DISTRICT OF
 AND MONICA SMITH,                   :             NEW JERSEY
                                     :         VICINAGE OF NEWARK
            Plaintiffs,              :
                                     :    HON. ______________________,
 v.                                  :              U.S.D.J.
                                     :
 QUATREL    DI’VANTE   MILLER,       :     CIVIL ACTION NO. ________
 STATE OF NEW JERSEY DIVISION        :
 OF   CHILD   PROTECTION   AND       :
 PERMANENCY, AND STATE OF NEW        :
 JERSEY DEPARTMENT OF CHILDREN       :          NOTICE OF REMOVAL
 AND FAMILIES,                       :
                                     :
       Defendants.                   :

      TO THE CHIEF JUDGE AND JUDGES OF THE UNITED STATES DISTRICT
COURT FOR THE DISTRICT OF NEW JERSEY:

      This Notice of Removal having been opened to the Court by

GURBIR S. GREWAL,      ATTORNEY GENERAL OF NEW JERSEY, by Deputy

Attorney   General   Ashley   L.   Costello   appearing,   on   behalf   of

Defendants State of New Jersey, Division of Child Protection and

Permanency and State of New Jersey, Department of Children and

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Families, ("State Defendants"), in accordance with the provision

of 28 U.S.C. § 1446 respectfully show that:

    1.    State Defendants are named as defendants in a civil

action brought in the Superior Court of New Jersey, Law Division

Morris County, entitled: A.S., et al. v. Quatrel Di’Vante Miller,

et al., bearing Morris County Docket Number MRS-L-0665-19. (See

Exhibit A).

    2.    According    to   Morris    County   Superior   Court   records,

Plaintiffs’ Complaint in this matter was filed on March 27, 2019.

See Id.

    3.    The    United     States    District    Court    has    original

jurisdiction over this action pursuant to 28 U.S.C. § 1331.

    4.    This action is removable to the District Court pursuant

to 28 U.S.C. § 1441(a).

    5.    On August 7, 2019, State Defendants were served with

process in this matter. (See Exhibit B).

    6.    Plaintiffs’ Complaint alleges a violation of Plaintiff

A.S.'s civil rights under 42 U.S.C. § 1983.

    7.    State Defendants now file the within Notice of Removal

pursuant to 28 U.S.C. § 1331 on the basis of federal question

jurisdiction.

    8.    As State Defendants were served with process on August

7, 2019, this Notice of Removal is timely filed, pursuant to 28

U.S.C. § 1446(b)(1) and (3), allowing State Defendants to remove,

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as the thirty-day time period for removal does not expire until

September 6, 2019. See 28 U.S.C. § 1446(b); see also Murphy Bros.

v. Michetti Pipe Stringing, 526 U.S. 344, 347 (1999).

    9.     Exhibits A through D attached hereto constitutes the

only documents received by State Defendants in this action.

    10.    Insofar     as   the   State   Defendants    can   determine,    Co-

Defendant Quatrel Di’Vante Miller has not been served with legal

process in this matter, as no appearance has been entered for Co-

Defendant Miller in Morris County Superior Court and no proof of

service has been filed by Plaintiff to indicate that service was

effectuated in accordance with N.J. Ct. R. 4:4-2, 4:4-3, 4:4-4.

See Am. Asset Fin., LLC v. Corea Firm, 821 F. Supp. 2d 698, 699

(D.N.J. 2011) (holding "all defendants must join in a notice of

removal   in   order   for    removal     to   be   permissible.   Remand   is

appropriate where one or more defendants do not join in removal.

But the rule of unanimity does not apply: (1) when the nonjoining

defendant is a nominal party; (2) when the defendant has been

fraudulently joined; or (3) when a defendant has not been served

when the removing defendants filed their notice of removal.")).

    WHEREFORE, State Defendants respectfully request that the

action now pending in the Superior Court of New Jersey, Law

Division Morris County, bearing Morris County Docket No. MRS-L-

0665-19, entitled: A.S., et al. v. Quatrel Di’Vante Miller, et

al., be removed to this Court.

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                                GURBIR S. GREWAL
                                ATTORNEY GENERAL OF NEW JERSEY


                            By:/s/ Ashley L. Costello___
                               Ashley L. Costello (107192015)
                               Brian W. Hunkins (017931982)
                               Deputy Attorney General

DATED: August 29, 2019




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